 

UN|T§§D STAT§S DlSTRlCT C©URT

Fl§.§f~.l`} 131 ‘1'
Western District of Tennessee
, _ §§ §§§Y ~5 F§§ 3= l3
United States of Amerlca ORDER HOLDING PROBA 0 ER
FOR REVOCATION HEARII§I§S_JL~,~§1 ;{ 11 11105,50
" "*‘ '\... xEJ. E`.`i.l-(` CT-
V' 111/gri §11 l11 1-1 1§,11111§15
Rodney Robinson Case Number: 97-20263-01-M1

 

On April 14, 2005 , the defendant appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant Was or had been advised
of his rights under Rules 5 and 32.1(a)(1), Federal Rules of Criminal Procedure, and at a
subsequent hearing, counsel Was appointed

At this hearing, the defendant Was released on bond and therefore, a preliminary hearing
on the violation was not required See United States v. Sciuto, 531 F.2d 842, 846 (7th Cir. 1976);
United States v. Tucker, 524 F.Zd 77, 78 (5th Cir. 1975), cert. denied, 424 U.S. 966, 96 S.Ct.
1462, 47 L.Ed.2d 733(1976).

Accordingly, the defendant is held to a final revocation hearing before Judge M<;Calla.

It is presumed that the United States District Court will set this matter for a revocation
hearing pursuant to Federal Rule of Criminal Procedure 32.1(a)(2), and Will see that appropriate
notices are given

'S Wmm f//&A,/Wj

S. Thomas Anderson, United Srates Magistrate fudge

Date: W{;’fb} OZ, ZOOI/

This document entered on the docket s et in compliance
with Rule 55 and/or 32(b) FRCrP on / l g w § 25

   

UNITED sTATE DRISTIC COURT - W"'ERNT D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
case 2:97-CR-20263 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

